                      Case 22-50327-CTG              Doc 7      Filed 07/28/22         Page 1 of 4
                                      IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF DELAWARE

In re:
                                                                     Chapter 7
START MAN FURNITURE, LLC, et al. (f/k/a Art Van
Furniture, LLC),                                                     Case No. 20-10553 (CTG)

                               Debtors.                              (Jointly Administered)
ALFRED T. GIULIANO, in his capacity as Chapter 7 Trustee
of Start Man Furniture, LLC, et al.,                                 Adv. Proc. No. 22-50327 (CTG)

                                Plaintiff,
                                                                     Re: Docket Nos.: 1 and 5
vs.

SIMPSON FURNITURE COMPANY,

                                Defendant.

         ALIAS SUMMONS AND NOTICE OF PRETRIAL CONFERENCE IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this corrected summons
with the clerk of the bankruptcy court within 30 days after the date of issuance of this corrected summons, except that the United
States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                  Address of Clerk:          United States Bankruptcy Court
                                             824 Market Street, 3rd Floor
                                             Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney. Name and Address of
Plaintiff’s Attorneys:
                                       PACHULSKI STANG ZIEHL & JONES LLP
                                       Bradford J. Sandler (DE Bar No. 4142)
                                       Jason S. Pomerantz (CA Bar No. 157216)
                                       Peter J. Keane (DE Bar No. 5503)
                                       919 North Market Street, 17th Floor
                                       P.O. Box 8705
                                       Wilmington, DE 19899-8705 (Courier 19801)
                                       Telephone: (302) 652-4100
                                       Facsimile: (302) 652-4400
                                       Email: bsandler@pszjlaw.com
                                                 jpomerantz@pszjlaw.com
                                                 pkeane@pszjlaw.com

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.
YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be held at the
following time and place.
                          Address: United States Bankruptcy Court      Courtroom No. 7
                          824 Market Street, 3rd Floor
                          Wilmington, DE 19801                         Date and Time: October 3, 2022 at 10:00 AM (ET)

                             IF YOU FAIL TO RESPOND TO THIS CORRECTED SUMMONS, YOUR FAILURE WILL BE
                             DEEMED TO BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT
                             AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED
                             IN THE COMPLAINT.
United States Bankruptcy
Court for the District of Delaware                             /s/ Una O’Boyle
Date: July 28, 2022                                            Clerk of the Bankruptcy Court




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                                     CERTIFICATE OF SERVICE

I, Peter J. Keane, certify that I am, and at all times during the service of process was, not less than 18
years of age and not a party to the matter concerning which service of process was made. I further certify
that the service of this alias summons and a copy of the complaint was made July 28, 2022 by:


        Mail Service: Regular, first class United States mail, postage fully pre-paid, addressed to:

                                   SEE ATTACHED SERVICE LIST

        Personal Service: By leaving the process with defendant or with an officer or agent of defendant
        at:


        Residence Service: By leaving the process with the following adult at:


        Certified Mail Service on an Insured Depository Institution: By sending the process by certified
        mail addressed to the following officer of the defendant at:


        Publication: The defendant was served as follows: [Describe briefly]


        State Law: The defendant was served pursuant to the laws of the State of ___________________,
        as follows: [Describe briefly]                                                  (name of state)

        Under penalty of perjury, I declare that the foregoing is true and correct.


Dated: July 28, 2022                                      /s/ Peter J. Keane
                                                          Peter J. Keane (DE Bar No. 5503)
                                                          PACHULSKI STANG ZIEHL & JONES LLP
                                                          919 North Market Street, 17th Floor
                                                          Wilmington, DE 19899-8705 (Courier 19801)




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Art Van Simpson Furniture Adversary Service List
Document No. 239154v4
02 – First Class Mail
02 – Certified Mail


FIRST CLASS MAIL
Dale Thomas Emmert
CEO & President, Simpson Furniture Company
515 Main Street
P.O. Box 765
Cedar Falls, IA 50613

FIRST CLASS MAIL
Simpson Furniture Company
515 Main Street
P.O. Box 765
Cedar Falls, IA 50613

CERTIFIED MAIL
Dale Thomas Emmert
CEO & President, Simpson Furniture Company
515 Main Street
P.O. Box 765
Cedar Falls, IA 50613

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                               Debtors.                         (Jointly Administered)
ALFRED T. GIULIANO, in his capacity as Chapter 7 Trustee
of Start Man Furniture, LLC, et al.,                            Adv. Proc. No. 22-50327 (CTG)

                             Plaintiff,

vs.

SIMPSON FURNITURE COMPANY,

                             Defendant.


                             NOTICE OF DISPUTE RESOLUTION ALTERNATIVES
        As party to litigation you have a right to adjudication of your matter by a judge of this Court. Settlement of
your case, however, can often produce a resolution more quickly than appearing before a judge. Additionally,
settlement can also reduce the expense, inconvenience, and uncertainty of litigation.
        There are dispute resolution structures, other than litigation, that can lead to resolving your case. Alternative
Dispute Resolution (ADR) is offered through a program established by this Court. The use of these services are
often productive and effective in settling disputes. The purpose of this Notice is to furnish general information
about ADR.
         The ADR structures used most often are mediation, early-neutral evaluation, mediation/arbitration and
arbitration. In each, the process is presided over by an impartial third party, called the “neutral”.
        In mediation and early neutral evaluation, an experienced neutral has no power to impose a settlement on
you. It fosters an environment where offers can be discussed and exchanged. In the process, together, you and your
attorney will be involved in weighing settlement proposals and crafting a settlement. The Court in its Local Rules
requires all ADR processes, except threat of a potential criminal action, to be confidential. You will not be
prejudiced in the event a settlement is not achieved because the presiding judge will not be advised of the content of
any of your settlement discussions.
         Mediation/arbitration is a process where you submit to mediation and, if it is unsuccessful, agree that the
mediator will act as an arbitrator. At that point, the process is the same as arbitration. You, through your counsel,
will present evidence to a neural, who issues a decision. If the matter in controversy arises in the main bankruptcy
case or arises from a subsidiary issue in an adversary proceeding, the arbitration, though voluntary, may be binding.
If a party requests de novo review of an arbitration award, the judge will rehear the case.
      Your attorney can provide you with additional information about ADR and advise you as to whether
and when ADR might be helpful in your case.


Dated: July 28, 2022                                       /s/ Una O’Boyle
                                                           Clerk of the Court




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